                        Case 4:12-cr-00306-KGB                    Document 748               Filed 01/23/15        Page 1 of 5
A0245B        (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1
                                                                                                                         llilit/CcrAR RI
                                                                                                                                          KANSAS

                                          UNITED STATES DISTRICT COURT                                                     JAN 23 2015
                                                            Eastern District of Arkansas                       ~:MEtt{f)1~~ ~~
              UNITED STATES OF AMERICA                                    )
                                                                          )
                                                                                      JUDGMENT IN A           CRIMI~J
                                  v.                                      )
                  RODNEY LYNN SPRADLIN                                    )
                                                                          )           Case Number: 4:12-cr-00306-13 KGB
                                                                          )           USM Number: 27352-009
                                                                          )
                                                                          )           JASON D. FILES
                                                                                      Defendant's Attorney
THE DEFENDANT:
ijfpleaded guilty to count(s)          1sss
                                    -----------------------------------
0 pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended             Count
21 U.S.C. § 843(b),                Use of a Communication Facility in Furtherance of Drug                      9/12/2012                 1sss

21 u.s.c. § 843(d)(1)              Trafficking



       The defendant is sentenced as provided in pages 2 through                  5          of this judgment. The sentence is imposed pursuant to
                                                                           ----
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)

ft'Count(s)      1 ss                                    ii{ is     Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              1/16/2015
                                                                          Date oflmposition of Judgment




                                                                              Kristine G. Baker                          U.S. District Judge
                                                                          Name and Tttle of Judge




                                                                           Date
                          Case 4:12-cr-00306-KGB                 Document 748             Filed 01/23/15          Page 2 of 5
AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 4-Probation
                                                                                                             Judgment-Page            of
DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB
                                                                  PROBATION
The defendant is hereby sentenced to probation for a tenn of:

 5 years.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as detennined by the court.
 D        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Check. if applicable.)
          The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if app/1cable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if appltcable.)
 D        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
 Payments sheet of This judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pennission to do so by the probation officer;
  10)      the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
           contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
           penn1ss1on of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.
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AO 2458   (Rev 09/11) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                                             3_ of
                                                                                             Judgment-Page _ _                  5
DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB

                                       SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall be on home detention through the location monitoring program for the first six months of probation.
 During this time, he is restricted to his residence except for employment and other activities approved in advance by the
 probation office including, but not limited to, activities related to the care and visiting of his mother and caring for his
 children and their needs.

 The defendant shall maintain a telephone at his place of residence without any feature or service that would interfere with
 the operation of the location monitoring equipment for the period he participates in the location monitoring program.

 The defendant may be required to wear a location monitoring device, which may include radio frequency, global positioning
 system or random tracking, at the discretion of the U.S. Probation office. He shall abide by all technology requirements.
 The defendant shall follow all location monitoring procedures specified by the probation office, and he shall pay the costs
 based on a co-payment fee established by the probation office. He must comply with the terms and conditions of the
 program for the first six months of his probation.

 The defendant shall participate under the guidance and supervision of the probation officer in a substance abuse treatment
 program, which may include testing, outpatient counseling and residential treatment. He shall abstain from the use of
 alcohol throughout the course of treatment and shall bear the costs of the treatment to the extent he is able, as determined
 by the probation office. The defendant's portion of the cost is not to exceed $40.00 per month.

 The defendant shall participate in a mental health assessment. If the assessment determines further treatment is
 necessary, he shall participate in treatment under the guidance and supervision of the probation officers. He shall bear the
 costs of his mental health treatment to the extent he is able as determined by the probation office. The costs should not
 exceed $40.00 per month.

 The defendant shall perform 200 hours of community service as directed by the probation officer prior to the expiration of
 the term of his probation. The location of the community service shall be determined by the probation officer.
AO 2458
                      Case 4:12-cr-00306-KGB
           (Rev. 09/11) Judgment in a Criminal Case
                                                                 Document 748             Filed 01/23/15         Page 4 of 5
           Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment -   Page _ __     of
DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                        Fine                              Restitution
TOTALS             $ 100.00                                            $ 0.00                           $ 0.00


 D The determination of restitution is deferred until          - - -
                                                                        . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                            Total Loss*         Restitution Ordered Priority or Percentage




 TOTALS                               $                         0.00         $ - - - - - - - -0.00
                                                                                               --


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine    D restitution.
      D the interest requirement for the              D fine    D restitution is modified as follows:


 *Findings forthe total amount oflosses are required under Chapters 109A, 110, 1 lOA, and l 13A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                               Judgment - Page       5      of           5
DEFENDANT: RODNEY LYNN SPRADLIN
CASE NUMBER: 4:12-cr-00306-13 KGB

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of$ _10_0_._0_0____ due immediately, balance due
           D     not later than                                      , or
           D     in accordance           D C,         D D,      D      E, or     D F below; or
B     D    Payment to begin immediately (may be combined with                  D C,       D D, or       D F below); or
C     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          -----
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    D Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
